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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               :
                                       :
      v.                               :       CRIMINAL NO. 21-CR-392-3 (RCL)
                                       :
                                       :
ERIK WARNER                            :


    DEFENDANT’S UNOPPOSED MOTION TO VACATE MOTIONS DEADLINE

      Mr. Erik Warner, through his attorney, Kira Anne West, hereby respectfully

moves this Honorable Court to vacate the motions deadline for defendant Warner

and in support of this motion, states the following:


      Trial in this case is scheduled for July 6, 2023. The defendant’s pretrial

motions are due today. Yesterday, the government responded to defendant

Warner’s motion for severance, ECF No. 165, and has agreed to sever defendant

Warner and other defendants. See ECF No. 183. As such, defendant Warner

respectfully asks this court vacate the motions deadline for defendant Warner until

a new scheduling order is issued in the event the Court agrees with the parties that

severance is the best course going forward.

      WHEREFORE for the foregoing reasons and such other reasons that may

appear just and proper, defendant Erik Warner, respectfully requests

that this Court vacate the motions date.

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                                             Respectfully submitted,

                                             KIRA ANNE WEST



                                     By:               /s/
                                             Kira Anne West
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                                CERTIFICATE OF SERVICE

       I hereby certify on the 24th day of March, 2023, a copy of same was delivered to the

parties of record pursuant to the Covid standing order and the rules of the Clerk of Court.

                                                         /S/

                                                     Kira Anne West




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